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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                        AT LOUISVILLE

 HBTPOWER LIMITED,                                        )   CASE NO.: 3:23-cv-628-RGJ
 Vistra Corporate Services Centre, Wickhams               )
 Cay II, Road Town, Tortola, VG 1110,                     )   JUDGE:
 British Virgin Islands                                   )
                                                          )
               Plaintiff,                                 )
                                                          )
                                                          )
    vs.                                                   )
                                                          )
 MOHAWK ENERGY, LLC,                                      )
  Serve:                                                  )
     Anna Whites                                          )
     Anna Whites Law Office                               )
     327 Logan Street                                     )
     Frankfort, Kentucky 40601

           Defendant.


                        VERIFIED COMPLAINT FOR TEMPORARY
                RESTRAINING ORDER AND PERMANENT INJUNCTIVE RELIEF

          Comes the Plaintiff, HBTPower Limited (“HBTPower”), by counsel, and for its Verified

Complaint for Temporary Restraining Order and Permanent Injunctive Relief (“Verified

Complaint”) against Mohawk Energy LLC (“Mohawk”) (HBTPower and Mohawk are referred to

collectively herein as the “Parties”), states as follows:

                               PARTIES, JURISDICTION, AND VENUE

          1.         Plaintiff HBTPower is a limited company incorporated under the laws of the British

Virgin Islands with a principal place of business at Vistra Corporate Services Centre, Wickhams

Cay II, Road Town, Tortola, VG1110, British Virgin Islands. HBTPower is owned by Sinohope

Digital Services Limited, a limited company incorporated under the laws of Hong Kong, and



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Mcore Limited, a limited company incorporated under the laws of the British Virgin Islands.

Neither of HBTPower’s owners are citizens of the United States.

       2.      Defendant Mohawk is a Kentucky limited liability company with a principal place

of business at P.O. Box 846, Hazard, Kentucky 41702. Mohawk’s registered agent is Anna Whites

at Anna Whites Law Office, 327 Logan Street, Frankfort, Kentucky 40601. Upon information and

belief, Mohawk’s sole member is Brandon D. Smith, who is a Kentucky resident.

       3.      The Parties entered into the Operation Right License Agreement, dated May 31,

2022 (the “License Agreement”), pursuant to which HBTPower (as licensee) was to run and

operate Bitcoin mining activities at 1004 Gateway Industrial Park, Jenkins, Kentucky 41537 (the

“Premises”). The License Agreement is attached hereto as Exhibit 1.

       4.      The License Agreement includes an arbitration provision at Section 20, which

provides, in relevant part, that “[a]ny dispute, claim or controversy arising out of or relating to this

Agreement or the breach, termination, enforcement, interpretation or validity thereof, including

the determination of the scope or applicability of this agreement to arbitrate, shall be determined

by arbitration in Lexington, Kentucky or Louisville, Kentucky before one arbitrator.” Id. at § 20.

The arbitration provision in the License Agreement explicitly authorizes the Parties to seek

injunctive relief in the courts, as HBTPower does through this claim, without waiving arbitration.

Id.

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a) because

there is complete diversity of citizenship between the parties and the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs.

       6.      In the alternative, this Court also has jurisdiction over this matter pursuant to 9

U.S.C. §§ 202-203 because this is “an action or proceeding arising under the [Convention on the


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Recognition and Enforcement of Foreign Arbitral Awards of June 10, 1958]” and because it arises

out of a contractual legal relationship between a domestic party (Mohawk) and a foreign party

(HBTPower).

        7.      Venue is proper in this Court pursuant to 9 U.S.C. § 204 because it is the Court for

the district which embraces Louisville, Kentucky, a place designated in the License Agreement as

the place of arbitration.

        8.      All conditions precedent to bringing this action, if any, have occurred or have been

excused or waived.

                                  FACTUAL ALLEGATIONS

        9.      HBTPower is an indirect non-wholly owned British Virgin Islands-based

subsidiary of Sinohope Technology Holdings Limited (formerly known as New Huo Technology

Holdings Limited or Huobi Technology Holdings Limited), a technology solution service provider,

offering a variety of services in virtual asset ecosystem, such as asset management, trust and

custodian businesses and cryptocurrency trading.

        10.     HBTPower is engaged, and has expertise, in mining of cryptocurrencies, including

Bitcoin.

        11.     In or around March 2022, HBTPower was seeking opportunities to develop a

Bitcoin mining facility in a place that could provide efficient power supply rates and a favorable

return on investment policy. HBTPower also wanted to utilize the thousands of mining machines

HBTPower had acquired.

        12.     Around this time, HBTPower was introduced to Brandon D. Smith, the President

of Mohawk, who indicated Mohawk had the property and the ability to help HBTPower carry out

its Bitcoin mining activities.


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                                      The License Agreement

       13.     On May 31, 2022, Mohawk as “Licensor” and HBTPower as “Licensee” entered

into the License Agreement, pursuant to which HBTPower would operate Bitcoin mining activities

at the Premises. See License Agreement, Ex. 1, Recitals.

       14.     In the License Agreement, Mohawk represented that it had “[a] valid fee simple

absolute estate in the Premises free and clear of all liens, conditions, covenants, restrictions, rights

of way, or regulations that would adversely affect or prohibit the use of the Premises for the Bitcoin

Mining activities contemplated” therein. Id. at § 24(a)(v).

       15.     Mohawk was contractually required under the License Agreement to provide

HBTPower with no less than 41,000 square feet of mining space on the Premises outfitted with a

power capacity of no less than 30MW. Id. at Recitals.

       16.     Under the terms of the License Agreement, Mohawk granted HBTPower an

exclusive, irrevocable license to run, operate, and manage Bitcoin mining activities on the

Premises for the duration of the License Agreement, with the right to utilize the electricity facilities

and racks of mining machines that Mohawk would install for HBTPower on the Premises. Id. at §

2.

       17.     The License Agreement required HBTPower to provide the Bitcoin mining

machines it would use on the Premises. Id. at Recitals.

       18.     Mohawk was contractually required to purchase various equipment, including, but

not limited to, transformers, substation transformers, racks and shelves, internet infrastructure, and

construction materials, and to install them on the Premises on behalf of HBTPower. Id. at § 4(a).

The overall cost of the equipment and construction material purchased by Mohawk on behalf of




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HBTPower was not to exceed $8,000,000. Id. Mohawk was required to provide proforma invoices

to HBTPower for the equipment that Mohawk purchased on HBTPower’s behalf. Id. at § 4(c).

       19.     As a condition precedent and performance obligation, Mohawk represented in the

License Agreement that it had already entered into a contract for power supply with Kentucky

Power Company (“KPC”), with which Mohawk would continue to negotiate to bring the power

consumption rates to an average of $0.047/kWh within 5 years. Id. at § 3(a)(iv).

       20.     The Parties agreed that, after June 1, 2022 (the “Effective Date”), HBTPower would

pay a rent security deposit in the amount of $100,000 and an additional $50,000 for the first month

of rent; energy security deposits in the amount of $2,850,000 and $293,000; and an $800,000

deposit for the construction and equipment. Id. at §§ (6)(e), 4(b).

       21.     Between June 7 and June 17, 2022, HBTPower paid, and Mohawk confirmed

receipt of, $4,132,910 from HBTPower for the rent security deposit and first month of rent; energy

security deposit; staffing fee; and deposit for construction and equipment. See Mohawk Receipt,

attached hereto as Exhibit 2.

       22.     On June 8, 2022, Mohawk transferred to KPC the energy security deposit paid by

HBTPower. On June 10, 2022, KPC confirmed receipt of $2,800,000 from Mohawk. See June 10,

2022 Email, attached hereto as Exhibit 3.

       23.     Per Section 5 of the License Agreement, the “Delivery Date” is the later of “the

date on which [HBTPower] confirms [Mohawk’s] [w]ork has been completed in a manner

satisfactory to [HBTPower]” or “all of the conditions set forth in Section 3(b) have been satisfied

or waived.” See License Agreement, Ex. 1, § 5(c). The conditions set forth in Section 3(b) include,

but are not limited to, Mohawk’s obligation to “complete the upgrade of the Premises’ electrical

service and components, as well as the overall renovation of the Premises,” obtain all necessary


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governmental and regulatory authorizations, ensure “[t]he Premises is capable of sustained Bitcoin

Mining activities consistent with [HBTPower’s] intended use of the Premises,” appropriately

modify the Premises to host the Bitcoin mining rig equipment, and install the appropriate power

supply infrastructure to host the mining machines purchased by HBTPower. Id. at §§ 3(a), (b).

       24.     Section 7 provides that the 8-year "Initial Term" under the License Agreement

“shall commence on the Delivery Date.” Id. at § 7(a). The “Delivery Date” is also the

“Commencement Date” for the “Initial Term” of 8 years, when HBTPower’s monthly obligation

to pay rent, labor, and 10% of the revenue generated by its Bitcoin mining operation were

scheduled to begin.

       25.     As a gesture of good faith, to ensure that Mohawk reached the Delivery Date, and

to facilitate the commencement of mining activities at the Premises, HBTPower began paying rent

and labor charges in June 2022 and continued to pay until July 2023, even though it was not

obligated to do so.

       26.     To date, HBTPower has paid more than $12,000,000 in rent, labor, deposits for

electricity charges and staffing fees, and advances for construction and equipment.

       27.     On June 20, 2022, HBTPower delivered 1,000 Bitcoin mining machine units to the

Premises, all of which were M30 series and M31 series models. On July 12, 2022, HBTPower

delivered an additional 1,059 mining machine units to the Premises, which were also M30 series

and M31 series models. The Bitcoin mining machines delivered to the Premises were among the

best available on the market at that time. Very few entities in the world own mining machine

inventory of this quality and size.




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       28.     Since June 2022, HBTPower has consistently inquired about the status of

construction at the Premises and requested proforma invoices for equipment, copies of executed

power contracts, and updates on the electrification of the Premises for mining activities.

       29.     On December 19, 2022, Mohawk provided HBTPower with executed copies of

Mohawk’s power contracts with KPC for the first time. A copy of the KPC contracts with Mohawk,

dated December 19, 2022, are collectively attached as Exhibit 4. Those contracts and their

amendments were not fully executed until December 19, 2022, despite Mohawk’s representation

in the License Agreement that such a contract was already in place as of June 1, 2022. See License

Agreement, Ex. 1, § 3(a)(iv).

       30.     On March 7, 2023, HBTPower delivered another shipment of 2,276 Bitcoin mining

machines to the Premises, all of which were Bitmain Antminer S19j Pro and Bitmain Antminer

S19 Pro models.

       31.     In total, HBTPower has delivered 4,335 Bitcoin mining machines (“Mining

Machines”) to the Premises.

       32.     In late August 2023, HBTPower learned that Mohawk does not actually own the

Premises, despite Mohawk’s representation in the License Agreement that it had a fee simple

absolute estate in the Premises as of June 1, 2022. See id. at § 24(a)(v). HBTPower also learned

that Mohawk is now in a dispute with the actual owner of the Premises.

       33.     The License Agreement obligated Mohawk to secure “[a]ll necessary

governmental, and regulatory authorizations, together with all third party approvals and consents,”

which included an “Economic Development Rider” (“EDR”) from KPC Id. at § 3(a)(ii). However,

in mid-2023, both KPC and Mohawk informed HBTPower that KPC cannot provide an EDR to




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Mohawk for HBTPower’s mining activities. HBTPower must have an EDR to profitably conduct

mining activities in Kentucky.

       34.     Starting in 2022 and continuing through 2023, Mohawk moved several

transformers, substations, and other equipment necessary for carrying out mining activities to the

Premises, but never installed the appropriate power supply infrastructure to host Bitcoin mining

activities in violation of the License Agreement.

       35.     On October 11, 2023, Mohawk improperly removed HBTPower’s staff from the

Premises on the pretext of non-payment of rent and labor charges.

       36.     In a letter to HBTPower on October 12, 2023, Mohawk, through its counsel,

incorrectly claimed that “many of the initial contract terms and provisions were modified or

discarded” over Zoom meetings. See October 12, 2023 Letter, attached hereto as Exhibit 5. The

October 12, 2023 Letter also stated that Mohawk would not provide proforma invoices for

equipment acquired by Mohawk for HBTPower’s use at the Premises since, according to Mohawk,

HBTPower does not own the equipment. Id. Mohawk also “assured that [HBTPower’s] mining

machines are protected.” Id.

          Mohawk’s Attempts to Sell or Dispose of HBTPower’s Mining Machines

       37.     On November 23, 2023, HBTPower received information from market sources that

Mohawk is attempting to sell some or all of HBTPower’s Mining Machines to third parties.

       38.     Upon information and belief, one of the third parties to whom Mohawk has

attempted to sell Mining Machines is an entity in which Brandon D. Smith, Mohawk’s President,

has a founding interest and other financially-beneficial connections.

       39.     On November 24, 2023, HBTPower sent a cease and desist letter to Mohawk

demanding that Mohawk, including its employees, agents, principals, immediately cease and desist


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from any activities involving the unauthorized sale, disposition, or encumbrance of all or some of

the Mining Machines. See November 24, 2023 Letter, attached hereto as Exhibit 6.

       40.     On November 27, 2023, Mohawk responded with another letter lodging additional

erroneous allegations and offering HBTPower the opportunity to inspect the Premises. See

November 27, 2023 Letter, attached as Exhibit 7. However, the November 27, 2023 letter did not

include assurances by Mohawk that it would not sell the Mining Machines or that it had not already

attempted to do so. Id.

       41.     While HBTPower has been diligent in its obligations under the License Agreement,

Mohawk has carried out fundamental and material breaches of the License Agreement, including,

but not limited to, making false representations about having the appropriate power supply for

mining activities and holding a fee simple absolute interest in the Premises.

       42.     Moreover, without providing an account of money spent, Mohawk has attempted—

and to an extent succeeded—to extract funds from HBTPower that have not been due.

       43.     As of the date of HBTPower’s ouster from the Premises, the infrastructure

necessary for HBTPower to perform its mining activities on the Premises was not made available

by Mohawk under the terms outlined in the License Agreement.

       44.     Mohawk is now attempting to encumber or dispose of the Mining Machines for its

own gain and at HBTPower’s expense.

       45.     Mohawk has no legal interest whatsoever in the Mining Machines. Likewise,

Mohawk has not sought—nor has it been granted—HBTPower’s consent to use, sell, dispose, or

encumber the Mining Machines.

       46.     As a result of Mohawk’s wrongful actions and breaches, HBTPower has already

suffered, and continues to suffer, irreparable harm.


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        47.     More specifically, Mohawk’s unauthorized distribution and sale of HBTPower’s

 highly specialized and valuable Mining Machines not only constitutes a breach of contractual

 obligations, but also inflicts irreparable harm upon HBTPower. If Mohawk is allowed the

 opportunity to sell the Mining Machines to third parties, HBTPower cannot simply go out and

 replace them. Bitcoin mining hardware is designed for specific cryptocurrencies or algorithms. As

 a result, obtaining machines specialized for Bitcoin’s algorithm, with the necessary hashing power,

 is more challenging than acquiring general-purpose hardware. The Mining Machines are virtually

 impossible to procure or replace on the same scale in the current market.

        48.     Moreover, the value of HBTPower’s Mining Machines is not solely monetary; it

 extends to the strategic advantage the Machines provide in a highly competitive market. The

 Mining Machines give HBTPower a distinct competitive advantage in the cryptocurrency mining

 industry, which advantage is compromised by Mohawk’s unlawful actions. The unauthorized sale

 of HBTPower’s Mining Machines will not only result in direct financial losses for HBTPower but

 will also undermine its market position and reputation.

        49.     Furthermore, the unauthorized distribution of the Mining Machines will continue

 to disrupt HBTPower’s operational efficiency, leading to tangible and intangible losses. The

 unauthorized use or distribution of the Mining Machines may result in a breach of warranty

 obligations, leaving HBTPower without the necessary support and maintenance required for

 optimal performance. This not only compromises the reliability of HBTPower’s mining

 operations, but also poses a risk to the integrity of the Mining Machines.

        50.     In addition, Mohawk’s breaches and improper removal of HBTPower from the

 Premises has so far resulted in the deprivation of more than 17 months of mining Bitcoin from

 which HBTPower should have enjoyed the benefits. The harm caused by Mohawk’s decision to


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 oust HBTPower from the Premises is ongoing and the damages resulting therefrom will continue

 to mount with each day that passes.

         51.    The harm caused to HBTPower by Mohawk’s actions would be irreparable.

 Mohawk was incorporated, or became an active business, entity in 2022. Mohawk reported its

 operating revenue in 2022 as $80,000 and identified just 3 employees of its own. Therefore, in

 addition to the irreparable harm associated with the possible loss of the Mining Machines, there is

 also a considerable risk that Mohawk will not have sufficient assets to pay a judgment entered

 against it.

         52.    HBTPower reserves its right to seek damages and other relief before an arbitral

 tribunal consistent with the arbitration provision in the Licensing Agreement.

                                      COUNT I
                         INJUNCTIVE RELIEF AGAINST MOHAWK

         53.    HBTPower incorporates by reference the allegations in paragraphs 1 through 52 as

 though fully set forth herein.

         54.    HBTPower and Mohawk entered into the License Agreement on May 31, 2022.

         55.    Mohawk violated the terms of the License Agreement when it failed to provide the

 power connection for Bitcoin mining at the Premises, failed to provide adequate proforma invoices

 for its purchase of equipment on behalf of HBTPower, and failed to install the appropriate power

 supply infrastructure at the Premises.

         56.    HBTPower has performed all of its obligations under the License Agreement.

         57.    After improperly ousting HBTPower and its staff from the Premises, Mohawk is

 now attempting to wrongfully sell the Mining Machines to third parties, including, upon

 information and belief, one with strong financial ties to Mohawk’s President.



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         58.     HBTPower has demonstrated a strong likelihood of success on the merits of its

 claims by submitting evidence that Mohawk has breached the License Agreement by, among other

 things, failing to possess a fee simple interest in the Premises, failing to secure an adequate power

 supply per the License Agreement, and unlawfully attempting to sell the Mining Machines owned

 by HBTPower.

         59.     HBTPower will suffer immediate and irreparable injury unless Mohawk is

 preliminarily and permanently enjoined from any activities involving the unauthorized sale,

 disposition, or encumbrance of all or some of the Mining Machines.

         60.     HBTPower has no adequate remedy at law or otherwise to address its injuries, save

 in a court of equity.

         WHEREFORE, Plaintiff, HBTPower Limited, by counsel, respectfully requests the

 following relief:

         1.      Enter an Order temporarily, preliminarily, and permanently enjoining and

 restraining Mohawk, including its employees, agents, principals, and those acting in concert or

 participation with it, from any activities involving the unauthorized sale, disposition, or

 encumbrance of all or some part of the Mining Machines; and

         2.      Award HBTPower costs, legal fees, and all other relief, at law or equity, that this

 Court deems appropriate.




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                                    Respectfully submitted,

                                    STOLL KEENON OGDEN PLLC
                                    300 West Vine Street, Suite 2100
                                    Lexington, Kentucky 40507-1380
                                    (859) 231-3000
                                    (859) 253-1093 facsimile


                                    By: /s/ Palmer G. Vance II
                                        Palmer G. Vance II
                                        Lindsey H. Meares

                                    and

                                    Harout J. Samra
                                    DLA PIPER LLP (US)
                                    200 South Biscayne Boulevard, Suite 2500
                                    Miami, Florida 33131
                                    Telephone: (305) 423-8500
                                    Facsimile: (305) 437-8131
                                    Florida Bar No. 70523
                                    Harout.Samra@us.dlapiper.com

                                    Motion for admission pro hac
                                    vice to be filed.

                                    COUNSEL FOR PLAINTIFF,
                                    HBTPOWER LIMITED




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